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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: CROP INPUTS                                                                     MDL No. 2993
ANTITRUST LITIGATION


                                        TRANSFER ORDER


Before the Panel: * Plaintiffs in five Southern District of Illinois actions move under 28 U.S.C. §
1407 to centralize this litigation in the Southern District of Illinois. Plaintiffs’ motion includes the
thirteen actions listed on Schedule A, as well as eleven potentially-related actions pending in four
districts. 1 Plaintiffs’ motion is supported in its entirety by plaintiffs in the Southern District of
Illinois Duncan and Vienna Eqho Farms actions. Plaintiffs in five District of Minnesota actions,
the District of Kansas action, and potential tag-along actions in the District of Minnesota (seven
actions), the District of Idaho (one action) and the Eastern District of Pennsylvania (one action)
support centralization in the District of Minnesota. Defendants 2 support centralization in the
Eastern District of Missouri or, alternatively, the District of Minnesota.

         After considering the argument of counsel, 3 we find that centralization of these actions in
the Eastern District of Missouri will serve the convenience of the parties and witnesses and
promote the just and efficient conduct of the litigation. The actions involve common factual
allegations about defendants’ anticompetitive conduct, including a group boycott of electronic
sales platforms and price fixing in the manufacturing, wholesaling, and retailing of crop inputs –
i.e., seeds and chemicals such as fungicides, herbicides, and insecticides. Plaintiffs variously bring
claims for violation of Section 1 of the Sherman Antitrust Act, analogous state antitrust statutes,


*
    Judge David C. Norton did not participate in the decision of this matter.
1
 These actions, and any other related actions, are potential tag-along actions. See Panel Rules
1.1(h), 7.1 and 7.2.
2
 Winfield Solutions, LLC, BASF Corporation, Bayer CropScience, LP, Bayer Cropscience Inc.,
CHS Inc., Cargill Incorporated, Corteva Inc., Federated Co-Operatives Ltd., Growmark Inc.,
Nutrien AG Solutions Inc., Pioneer Hi-Bred International, Inc., Simplot AB Retail Sub, Inc.,
Syngenta Corporation, Tenkoz Inc., Univar Solutions, Inc., and Growmark FS, LLC.
3
 In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel heard oral
argument by videoconference at its hearing session of May 27, 2021. See Suppl. Notice of Hearing
Session, MDL No. 2993 (J.P.M.L. May 10, 2021), ECF No. 131.
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and consumer protection laws, and for common law claims such as unjust enrichment. Plaintiffs
seek to represent nationwide classes of crop input purchasers. All actions are in their relative
infancy, and all parties support centralization, though they disagree as to the selection of a
transferee forum. Centralization will eliminate duplicative discovery; avoid inconsistent pretrial
rulings; and conserve the resources of the parties, their counsel and the judiciary.

        While any number of proposed transferee districts could handle this litigation ably, we are
persuaded that the Eastern District of Missouri is the appropriate transferee district for this dispute.
The Eastern District of Missouri is where the Bayer CropScience defendants are based. Several
other defendants also have a significant presence in Missouri. Documents and witnesses relevant
to plaintiffs’ claims may be found there. Moreover, centralization in this district allows us to
assign these cases to a jurist, Judge Stephen R. Clark, Sr., who has not yet had the opportunity to
preside over multidistrict litigation. We are confident that Judge Clark will steer this litigation on
a prudent course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Eastern District of Missouri are transferred to the Eastern District of Missouri and, with the
consent of that court, assigned to the Honorable Stephen R. Clark, Sr., for coordinated or
consolidated proceedings.


                                        PANEL ON MULTIDISTRICT LITIGATION


                                       _______________________________________
                                                    Karen K. Caldwell
                                                          Chair

                                       Catherine D. Perry              Nathaniel M. Gorton
                                       Matthew F. Kennelly             Roger T. Benitez
                                       Dale A. Kimball
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IN RE: CROP INPUTS                                                 MDL No. 2993
ANTITRUST LITIGATION


                                      SCHEDULE A


      Southern District of Illinois

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      District of Kansas

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      District of Minnesota

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